          Case 1:19-vv-00356-UNJ Document 33 Filed 02/12/21 Page 1 of 2




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 19-356V


    PATRICK HANSEN,                                        Chief Special Master Corcoran

                        Petitioner,
    v.                                                     Filed: February 12, 2021

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


                   SCHEDULING ORDER-SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 8, 2021. Randall Knutson
appeared on behalf of petitioner, and Kyle Pozza appeared on behalf of respondent.

       The purpose of the status conference was to discuss the parties’ progress
resolving damages in this case. Due to the complicated nature of damages in this GBS
case (past and future lost wages are sought, in addition to future unreimbursed expenses)
the parties indicated that they have agreed it is necessary to retain life care planners and
vocational experts to assist counsel. I have no objection to the retention of experts given
the facts of this case. 1 However, notwithstanding the retention of experts, the parties’
counsel should plan to informally resolve damages by the fall of 2021. If the parties are
unable to do so, I will issue a ruling on damages, after the experts complete their analysis.
Further, I note this case may be appropriate for a motions’ day hearing on damages later
this year.

      Petitioner shall file a joint status report, on behalf of the parties, by no later
than Friday, March 12, 2021 updating me on the progress made toward informally
resolving the issue of damages. The status report shall indicate whether the
parties have retained life care and vocational experts, and whether the parties
have scheduled a joint site visit.




1
  The life care planners and vocational experts should work together to coordinate interviews and site
visits in order to avoid delay and duplication of effort.
        Case 1:19-vv-00356-UNJ Document 33 Filed 02/12/21 Page 2 of 2




     Any questions about this order or about this case generally may be directed to
OSM staff attorney Jocelyn McIntosh at (202) 357-6344 or
Jocelyn_McIntosh@cfc.uscourts.gov.

IT IS SO ORDERED.


                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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